Case 1:25-cv-03657-CM Document113 Filed 07/09/25 Pagelof1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

American Council of Learned Societies, et al.,

Plaintiff,

-against-
No. 25 Civ. 3657 (CM) (BCM)

Michael McDonald, et al.,

Defendants.
The Authors Guild, et al.,

Plaintiff,

-against-
No. 25 Civ. 3923 (CM) (BCM)
National Endowment for the Humanities, et al.,

Defendants.

ORDER
McMahon, J::

The Government has until the close of business on Monday, July 14, 2025 to respond, if it
wishes to do so, to (i) the arguments in Authors Guild’s July 2, 2025 Supplemental Brief about

why a class should be preliminarily certified and (41) the information in ACLS’s July 7, 2025

submission.
Dated: July 9, 2025 ‘p > 4
& i
U.S.D.J —

BY ECF TO ALL COUNSEL
